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                                                                                ATCHARLOU .ESVILsr. COUA
                                                                                         FILED     E,VA ,'

                        IN THEUNITED STATESDISTRICT COURT                          RAt 2j 2212
                       FOR THE W ESTERN DISTRICT OF VIRGW IA
                                                                               J IA c.     Ls.y      .
                            CHA RLO TTESV ILLE D IVISION
                                                                              B j k
 UN ITED STATES O F A M ERICA ,             )      CA SE N O .3:12CR 00009-2
                                            )
                                            )
                                            )     REPORT AND RECOM MENDATION
LO IS LEE M CDAN IEL,                       )
                                            )
              D efendant.                   )     By: B.W AUGH CRIGLER
                                            )         U.S.M AGISTRATE JUDGE


       ln accordancewith theprovisionsofTitle28U.S.C.j636(b)(3),and upon thedefendant's
consent,thiscase w asreferred to the undersigned to conducta plea hearing.

DEFENDANT'SRESPONSESTO RULE 11INQUIRY
       TheGrand Jury returned amultiple-countIndictmentcharging defendantin CountOne with
knowingly and intentionally com bining,conspiring,and agreeing to possess with the intent to

distribute and to distribute: prior to October 21,2011, a m ixture or substance containing a
detectable am ount of M D M C, M D PV and 4-M EC, controlled substance analogues as defined in

Title21,United StatesCode,Section 802 (32),with intentforhuman consumption asprovided in
Title 21,U nited States Code, Section 813,in violation of Title 21,U nited States Code, Sections

841(a)(1)and(b)(1)(C),
                     'and(2)from October21,2011andcontinuingtothedateoftheindictment,
amixtureorsubstancecontaining adetectableam ountofM DM C and M DPV,Schedule lcontrolled

substances (by FinalOrder ofDEA,76 Fed.Reg.65371),and 4-MEC,a controlled substance
analogue as defined in Title 21,United States Code,Section 802432),with intent forhuman
consum ption as provided in Title 21, United States Code, Section 813, in violation of Title 21,

United States Code,Sections 841(a)(1)and (b)(1)(C),allin violation ofTitle 21,United States
Code, Section 846; in Count Tw o w ith know ingly and intentionally distributing a m ixture or
substance containing a detectable nm ount ofM DPV ,a controlled substance analogue as defined in

Title 21,United StatesCode,Section 802 (32),knowing the substance was intended forhuman
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consumption asprovided in Title 21,United States Code,Section 813,a1lin violation ofTitle21,

United States Code, Sections 841(a)(1) and (b)(1)(C); in Count Three with knowingly mzd
intentionally distributing a m ixture or substance containing a detectable am otm t of M D PV , a

controlledsubstanceanalogueasdefined inTitle21,UnitedStatesCode,Section 802(32),knowing
the substmw e was intended forhlzman consumption asprovided in Title 21,United States Code,

Section 813,allin violation ofTitle 21,United StatesCode,Sections 841(a)(1)and (b)(1)(C)'
                                                                                        ,in
Cotmt Five with know ingly and intentionally distributing a m ixttzre or substance containing a
detectable am otm t of M D PV and M D M C ,controlled substance analogues as defined in Title 21,

United States Code, Section 802 (32), knowing the substances were intended for human
consumption asprovided in Title 21,United StatesCode,Section 813,a11in violation ofTitle 21,

United States Code, Sections 841(a)(1) and (b)(1)(C); in Count Six with knowingly and
intentionally distributing a m ixture or substance containing a detectable am ount of 4-M EC, a

controlledsubstanceanalogueasdetinedin Title21,UnitedStatesCode,Section 802(32),knowing
the substance was intended for hum an consum ption as provided in Title 21,United States Code,

Section 813,al1in violation ofTitle 21,United StatesCode,Sections 841(a)(1)and (b)(1)(C);in
Count Seven with know ingly and intentionally distributing a mixture or substance containing a

detectable am ount ofM DPV and M DM C,controlled substance analogues as defined in Title 21,

United States Code, Sedion 802 (32), knowing the substances were intended for human
consumption as provided in Title 21,United States Code,Section 813,allin violation ofTitle 21,

United States Code,Sections 841(a)(1)and (b)(1)(C);and in CotmtEightwith knowingly and
intentionally distributing and possessing with the intent to distribute a m ixture or substance
containing a detectable am ountofM DPV and M DM C,controlled substanceanaloguesasdefined in

Title 21,United StatesCode,Section 802 (32),knowing the substanceswereintended forhuman
consumption asprovided in Title 21,United States Code,Section 813,a11in violation ofTitle21,

UnitedStatesCode,Sections841(a)(1)and(b)(1)(C).
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       On A pril26,2012,a plea hearing w asconducted before the undersigned. The defendant
was placed underoath and testified thatherfulllegalnam e is Lois Lee M cD aniel,she was born

on M arch 26,1958,and she m ade itto the tenth grade in high school. The defendantstated that
she can read,write,and understand the English language. The defendantfurtherstated thatshe

w as fully aw are ofthe nature of the charges againstherand the consequences ofpleading guilty
to those charges. The defendantinformed the courtthatshe suffers with diabetes,high blood

pressure,high cholesterol,fibroidaltum ors,nettropathy,a nervous disorder,and depression,and

that she is taking numerous m edications for the conditions. Even so,she stated thatnothing
im paired her ability to understand w hat the courtw as saying or the nature of the proceedings.
The defendanttestitied thatshe had received a copy ofthe lndictmentpending againsther,and

thatshe had f'
             ully discussed thechargestherein and any defensesthereto,and hercasein general,
w ith hercounsel. The defendantstated thatshe waspleading guilty ofherow n free w illbecause

she was,in fact,guilty. The defendanttestified thatshe understood thatCountOne isa felony,

and if her plea is accepted,she will be adjudged guilty of that offense. The defendant
acknowledged awareness that if she complies with the plea agreement,the government has

agreed to m ove forherdism issalfrom the rem aining counts ofthe Indictm ent.
       The defendant acknowledged thatthe m aximum statutory penalty for CotmtOne is a

$1,000,000 fine and/or imprisonment for a term of twenty years, together with a term of
supervisedrelease. Thedefendantwasinformed thatparole hasbeen abolished,and thatifshe is
sentenced to prison,she willnotbe released on parole,buton supervised release,a violation of
which could result in additional incarceration. Finally, the defendant testified that she
understood that,upon conviction,she willbe required to pay a m andatory assessm entof$100
perfelony countofconviction.

       The defendantw as inform ed that underthe Sentencing Reform Act of 1984,the United

States Sentencing Commission has issued guidelines forjudges to follow in determining the
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sentencein acriminalcase.Thedefendantwasthen infonned thatthe Sentencing Guidelinesare

no longer mandatory,but the sentencing judge may apply them in an advisory fashion in
detennining a reasonable sentence. The defendant testified that she and her counsel had

discussed how the Sentencing Guidelinesm ightapply in hercase. The defendantalso testified
thatsheunderstood thatthe courtwould notbeableto determ inethe applicable guidelinerange,

foradvisory purposes,untilahera presentence reporthasbeen prepared and both parties have
been given an opportunity to challenge the reported factsand application ofthe Guidelines. The

defendantstated thatshe understood thatthe eventualsentence imposed may be differentfrom
any estim ateherattorney had given her,orany recomm endation by thegovernment,and thatthe

courthasthe authority to im posea sentence thatiseitherhigherorlowerthan thatcalled forby
the Guidelines,so long asthe sentence isnotgreaterthan the statutory maximum fortheoffense
to w hich the defendantispleading guilty.

       The defendantacknowledged it was agreed thatthe 2011 edition ofthe United States
Sentencing Guidelines M mmalis applicable. The defendantfurther acknowledged that,in the

Plea Agreem ent, it had been stipulated that Sentencing Guidelines 2D 1.1 and 3B1.1 are
applicable to herconduct. The defendantalso stated thatshe understood thateven ifshe fully
cooperates with law enforcem ent,the governmentis under no obligation to tile a motion to

reduce hersentence for substantialassistance,and ifthe governm entm akes the m otion,itisup to
the courtto determine how much ofa departure,ifany,should be made. The defendmltstated
that she understood that, contingent upon her acceptance of responsibility and continued

cooperation in the sentencing process,and fulfillmentof herduties under the Plea Agreement,

the governmentwillrecommend a two-level(2) reduction under USSG j 3E1.1(a),and,
applicable,the govermnentwillmove thatshe be given an additionalone-level(1)reduction
underUSSG j 3E1.1(b). The defendantagreedthatshehad knowingly and voluntarily waived
her rights to request or receive any records pertaining to the investigation or prosecution ofher
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case,including any recordsthatm ay be soughtunderthe Freedom of Inform ation Actorthe
Privacy A ct of 1974. The defendant agreed she w ould subm it a financial statem ent,if called
upon to do so. She further agreed thatfrom the tim e ofher signing ofthe plea agreem ent,orthe

date she signs the financial statem ent,w hichever is earlier,she w ould not convey anything of
value withoutauthorization f'
                            rom the govem m ent. The defendant acknowledged hermonetary

obligationsunderthepleaagreement,whichcallsforsuch to bedueimmediately and subjectto
im m ediate enforcem ent.

       The defendantacknowledgedthatshewaswaiving herrighttohave ajtu'y determine
beyond a reasonable doubtthe facts alleged in the Indictm ent,including any facts related to

sentencing. The defendanttestified thatshe understood thatshe had the rightto a trialby a

jury,inadditiontothefollowingrights,which willbewaived orgiven up ifherguiltypleais
accepted:

               The rightto plead notguilty to any offense charged againsther;
              The rightattrialto be presum ed innocentand to force the governm entto prove
              herguiltbeyond a reasonable doubt;
              Therightofassistance ofcounselattrialand in any subsequentappeal;
              The rightto see,hear and cross-exam ine w itnesses' ,
              The rightto call witnesses to testify on her om a behalf and to the issuance of
              subpoenasorcompulsoryprocessto compelthe attendanceofwitnesses;
              The rightto decline to testify tm less she voluntarily elects to do so in her own
              defense;
              Therightto aunanim ousguilty verdict'   ,and
              Therightto appeala guilty verdict.

       The defendanttestified thatshe tmderstood that,under the terms ofthe agreem entshe was
waiving herrightsto appeal,butthatshe w as notw aiving herrightto appealorhave herattorney file

a notice ofappealas to any issue which camzotby 1aw be waived. The defendantstated she was
aw are thatthe governm ent had retained its rights to appeal. The defendant acknow ledged that she
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had agreed to waive herrightto collaterally attack any orderissued in the case,unlesssuch attack is
based on ineffective assistance ofcounsel.
       The defendanttestified that she understood thatshe m ay be deprived ofvaluable civilrights,

such astherighttovote,therighttoholdpublicoftice,therighttoserveon ajury,andtherightto
possess a firearm. The defendant stated that she was satisfied w ith the advice and representation
given to herin thiscase by hercounsel,arld thatshe believed the representation had been effective.

The defendantasked the courtto acceptherplea ofguilty to CountOne.
TH E G O V ERN M EN T 'S EV IDEN C E

       Theevidencepresented in the government'sFactualSummary isasfollows: Theoffensets)
described below occurred within theW estern JudicialDistrictofVirginia. This StatementofFacts

briefly summarizes the facts and circumstances sulw unding the defendant's criminalconduct.

doesnotnecessmily contain allthe information obtained during thisinvestigation and applicableto

an accuratePresentenceReportand Sentencing Guidelinescalculation.

       diBath Salts''tirstemerged in theUnited Statesapproxim ately two yearsago. Sincethen,the

use oftçbath salts''hasincreased drnm atically,particularly am ong adolescentsand young adults,and

has been linked to overdoses,suicides,and deaths throughoutthe U nited States. A ccording to the

A m erican A ssociation of Poison ControlCenters,from January 1,2011 to D ecem ber 2011,poison

controlcentersacrossthe United Statesreceived 6,138callsregarding tçbath salt''abuse,compared to

302 calls during 2010.

       ttBath salts''are m ixtures ofm any differentchem icals,including those thatresem ble cocaine,

methnmphetnm ine,and ecstasy.They areclassified assyntheticcathinoneswhich arecentralnervous

system stim ulants.They are chem ically sim ilar to cathinone,a Schedule I controlled substance that

occursnaturally in thekhat plant(Catha edulis). UsersofEçbath salts''typieally snortthe drug in

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powderform oringestthe drugin pillform,butsomeusershavebeen known to smokeit,orinject
the drug intravenously. A typicaluseram ountof dlbath salts''isone halfofa gram to one gram . The

drug hasproven to affect users in a variety of w ays,butuserstypically experience highs sim ilarto

those experienced after ingesting M DMA or Sûecstasy''(heightening of the senses and sexual
arousal),and stimulantslikecocaineand methamphetamine(euphoriaandincreased energy).ltBath
salts''have been know n to have a num ber of adverse effects, which include psychotic episodes,

violent behavior, delusions, panic attacks, increased heart rate,chest pain, agitation, dizziness,

nausea and vom iting.

       Packets of ttbath salts''are com mercially branded with a variety of nam es and are often

labeled tinot for human consumption''in an effortto circumvent the federalnarcotics laws. See

attached Exhibit A. Despite these warnings, the sellers of Clbath salts'' have marketed these

substancesto consum ersasrecreationaldrugs.

       In early Aprilof2011,afamily mem berofan individualaddicted to (çbath salts''cnmeto the

JeffersonAreaDrugEnforcementTask Force(JADE)oftk eand notifieddetectivesthatGûbathsalts''
were a new illegal drug and were being sold and used in the Charlottesville com munity. The

individualfurther stated thatthis substance had horrible physicaland psychologicalside effects and

w as destroying a m em ber of her fam ily.JA DE follow ed up w ith the individual's fnm ily m em bers

and developed a plan to attem ptto begin m aking controlled purchases ofthis substance. D etectives
idCntified the C'ville Video Store located on 5th street in Charlottesville, Virginia as a location

selling Itbath salts.''Priorto thisinvestigation there had been no stateorfederalinvestigationsin the

Charlottesville area concerning çdbath salts.''JAD E,utilizing a confidentialinform ant,m ade a series

ofcontrolled buys from the C 'ville V ideo Store.JA D E sentthe purchased substancesto the state lab
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in an attemptto documentthechemicalcomposition and determineitslegality.The substancesinthe

tûbath salts''packagespurchased by theJADE informantwere identified by achemistattheDivision

of     Forensic     Science      as:     3,4-M ethylenedioxymethcathinone            (''MDM C''),   3,4-
M ethylenedioxypyrovalerone($çM DPV''),and4-Methyl-ethylcathinone(<ç4-M EC').
       Afterreceiptofthe 1ab resultsand afterconsulting with the Charlottesville Commonwealth

A ttorney's O ffice, JA DE sought the assistance of the federal Drug Enforcem ent Adm inistration

(DEA) and the United States Attorney's Office for the W estern District of Virginia for more
inform ation on the substances and how the investigation should proceed. Because of the threatto

public safety,a decision w as m ade to com m it federalresources to the investigation and attem ptto

determine from w here the tûbath salts''sold from the C 'ville V ideo Store cam e.

       The subsequent investigation revealed that Lois Lee M CDA N IEL ow ns and operates the

c 'ville V ideo Store located on 5th street in Charlottesville, V irginia. Shortly after purchasing the

video store in 2011 she began selling Ctbath salts.''M CDAN IEL purchased the çtbath salts''from a

supplier in N ew Y ork. The supplier advertised him self as a seller of Edbath salts'' on the internet.

M CDANIEL would call the supplier's cellphone num ber to place orders for tûbath salts.''The

supplierwould inform M CDANIEL which varietiesofçsbath salts''he had in stock and she would

choose from the differentproductoptionswhen ordering.The supplieroften described which types

ofhis current product options provided the best high or which one m ost resembled other drugs,

including cocaine and ecstasy.M CDANIEL had the supplier send the shipments ofûtbath salts''to

the C'ville V ideo Store via FederalExpress.M CD AN IEL w ould then send a m oney order from the

Food Lion grocery store located nextto C 'ville V ideo on 5* Streetto the supplierin N ew York.

       M CDANIEL,along with two others,would sellthe ûçbath salts''out of the C'ville Video



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Store from behind the cotmter. The transactions were typically notnm through the cash register.

The productw as atfirstlocated on top ofthe counter in a display case,butwas later concealed under

the counterin a bag in a trash can.There was often a line of Ctbath salts''users outside the door of

C'ville Video in themorning beforeitopened.M CDANIEL andtwo otherswereinvolved in hand to

hand salesto JA D E confidentialinfonnants.

       Specifically,between April 2011 and August 2011 JADE,with the assistance of DEA-

R ichm ond,conducted five separate controlled çibath salts''buys from the video store.These buys

were conduded on April21,2011 (1.092 grams of 3,4-M ethylenedioxr yrovalerone which is
commonly referred to as MDPV),April25,2011 (0.299 grams ofM DPV),M ay 2,2011 (0.917
gramsofMDPV),July 25,2011,(3.3 grams of MDPV,0.88 gramsof 4-Methyl-ethylcathinone
w hich is com m only referred to as 4-M EC, and 0.83 gram s of 3,4-M ethylenedioxym ethcathinone

which is commonly refen'ed to as Methylone orM DMC) and August11,2011 (1.25 grams of
M DPV).IfM CDANIEL wasnotphysically presentatthe store to make the sale herself,the two
others w ould call her cell phone to receive perm ission to conduct the sale. A 1l transactions w ere

captured on audio and video recording equipm ent.

   U nder Federallaw these tllree substances, M D PV ,M D M C, and 4-M EC, were not Schedule l

controlled substancesatthe tim e ofthese controlled buys from M CD AN IEL.W hen a substance does

not appear on the DEA controlled substance list it is possible that such substance is controlled

substance analogue.Title 21 United States Code Section 813,states that<ta controlled substance

analogue shall,to the extent intended for hum an consum ption,be treated,for the purposes of any

Federallaw as a controlled substance in schedule 1.'5A substatw e is a controlled substance analogue

accordingtoTitle21UnitedStatesCodeSection802(32)if-
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              (i)thechemicalstructureofwhichissubstantiallysimilartothechemical
       structure ofa controlled substance in schedule lorII;and

              (ii)which hasastimulant,depressant,orhallucinogeniceffectonthecentral
       nervoussystem thatis substantially sim ilarto orgreaterthatlthe stim ulant,

       depressant,orhallucinogenic effecton the centralnervous system ofa

       controlled substance in schedule Ior11'
                                             ,or

              (iii)withrespecttoaparticularperson,which suchperson representsor
       intendsto have astim ulant,depressant,orhallucinogeniceffecton thecentral

       nervous system thatis substantially sim ilarto orgreaterthan the stim ulant,

       depressant,orhallucinogenic effecton the centralnervous system ofa

       controlled substance in schedule 1orl1.

       A11 substances from the five controlled buys were sent to the DEA 1ab in Baltimore,

M aryland.ln declarations dated February 1,2012,Thomas DiBerardino,Ph.D,a DEA chemist,

found thatthe chem icalstrudure ofthe submitted M DPV and 4-M EC wassubstantially similarto

the chem ical structure of m ethcathinone,a Schedule l controlled substance. H e also found thatthe

chem icalstnzcture of the subm itted M DM C was substantially sim ilar to the chem icalstructtlre of

M DM A (commonly referred to as ecstasy),a Schedule Icontrolled substance. Additionally,in
declarations dated February 6,2012,Cassandra Prioleau,Ph.D.,a DEA Drug Science Specialist,

found thatthe pharm acologicaleffectson a user'scentralnervous system ofthe subm itted M DPV

and 4-M EC w as substantially sim ilaror greater than the pharm acologicaleffects on a user's central

nervous system of m ethcathinone, a Schedule l controlled substance. She also found that the

phannacological effects on a user's central nervous system of the subm itted M D M C w as


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substantially sim ilarorgreater than the pharm acologicaleffects on a user's centralnervoussystem of

MDMA (commonlyreferredtoasGdecstasy''),aSchedule1controlledsubstance.
       In lateAugustof2011JADE detectivesand a DEA agentwentto theC'villeVideo Storeand

confronted Lois M CDAN EIL about selling the ltbath salts.'' Lois M CDANIEL admitted her

involvem ent in selling the ûtbath salts''and consented to a search of the video store.M CD AN IEL

stated that she w as responsible for placing a11 orders with her N ew Y ork supplier and arranged to

alw ays have a supply of tçbath salts''at the C'ville V ideo Store. M CD AN IEL stated thatshe knew

individuals w ere using the substances to get high and that she should not have been selling them .

She also adm itted thatshe represented to customersthatthe use ofthe substances she was selling

would have an effect on the custom er that was substantially similar to the use of a controlled

substance. From thispointforw ard M CDA N IEL began cooperating with 1aw enforcem entoftk ers.

       M CD AN IEL'S version ofhow her operation w as nm w as corroborated by the investigation

and statem entsoftheco-conspirators.In total,LoisM CDANIEL was involved in theimportation of

atleast200 gramsofCtbath salts.''

FIND IN G S O F FA C T

       Based on theevidencepresented atthepleahearing,theundersigned now subm itsthe
following form alfindingsoffact,conclusionsand recomm endations:

   (1) Thedefendantisfullycompetentandcapableofenteringintoapleaagreementand
       m aking an inform ed plea;

   (2) Thedefendantisawareofthenatureofthechargesandtheconsequencesofher
       plea;

   (3) ThedefendantknowinglyandvoluntarilyenteredapleaofguiltytoCountOneof
       the lndictm ent;and


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   (4) Theevidencepresentsanindependentbasisinfad containingeach oftheessential
       elem entsoftheoffenseto which thedefendantispleading guilty.
RE CO M M EN D ED DISPO SITIO N

       Bmsed upon the above findings of fact,the undersigned RECOM M ENDS that the court
accept the defendant's plea of guilty to Count One of the Indictm ent. The undersigned D IRECTS

thatapresentence reportbeprepared. A sentencing hearing hereby isscheduled forJuly 26,2012 at
9:30 a.m .before the presiding D istrictJudge in Charlottesville.

N O TICE TO PA R TIE S

       Noticeishereby given to thepartiesoftheprovisionsof28 U.S.C.j 636(b)(1)(C):W ithin
fourteen days after being served w ith a copy of this R eport and Recom m endation,any party m ay

serve and file written objectionsto such proposed findingsand recommendationsasprovided by
rulesofcourt. The presiding DistrictJudge shallm ake adenovo determ ination ofthoseportionsof

the reportor specified proposed findings orrecommendations to which objection ismade. The
presiding District Judge may accept,reject, or modify, in whole or in part, the findings or
recommendations made by the undersigned. The judge may also receive further evidence or
recom m itthe m atterto thetm dersigned w ith instructions.

       Failuretofiletimelywritten objectionstotheseproposedfindingsandrecommendations
within fourteen dayscouldw aive appellatereview.Attheconclusion ofthefourteen-day period,the

Clerk isdirected totransm ittherecord in thism atterto thepresiding United StatesDistrictJudge.
       TheClerk ishereby directed to send acertified copy ofthisReportand Recom mendationto

allcounselofrecord.                                                                   J
                                               .r                        ..'


                                          .                         A%
                      EN TERED :        .'
                                       nited States M agistrate Judge


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